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                   UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

                                                   MASTER CASE NO.
IN RE GEORGIA SENATE BILL 202
                                                   1:21-mi-55555-JPB

SIXTH DISTRICT OF THE AFRICAN
METHODIST EPISCOPAL CHURCH, et al.,
             Plaintiffs,
                                                   CIVIL ACTION NO.
      v.
                                                   1:21-cv-01284-JPB
BRIAN KEMP, Governor of the State of
Georgia, in his official capacity, et al.,
             Defendants,

REPUBLICAN NATIONAL COMMITTEE,
et al.,
             Intervenor-Defendants.

GEORGIA STATE CONFERENCE OF THE
NAACP, et al.,
             Plaintiffs,
                                                   CIVIL ACTION NO.
      v.
                                                   1:21-cv-01259-JPB
BRAD RAFFENSPERGER, in his official
capacity as the Secretary of State for the State
of Georgia, et al.,
             Defendants,
REPUBLICAN NATIONAL COMMITTEE,
et al.,
             Intervenor-Defendants.
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    THE NEW GEORGIA PROJECT, et al.,
                Plaintiffs,
                                                           CIVIL ACTION NO.
          v.
                                                           1:21-cv-01229-JPB
    BRAD RAFFENSPERGER, in his official
    capacity as the Georgia Secretary of State,
    et al.,
                Defendants,
    REPUBLICAN NATIONAL COMMITTEE,
    et al.,
                Intervenor-Defendants.

                                         ORDER

         This matter is before the Court on the Renewed Motions for a Preliminary

Injunction filed by the Sixth District of the African Methodist Episcopal Church

(“AME”) and Georgia NAACP Plaintiffs1 [Doc. 535] and the New Georgia Project

(“NGP”) Plaintiffs2 [Doc. 547]. This Court finds as follows:




1
 The AME and Georgia NAACP Plaintiffs represent two plaintiff groups in two cases.
They comprise the following: Sixth District of the AME Church; Georgia Muslim Voter
Project; Women Watch Afrika; Latino Community Fund Georgia; Delta Sigma Theta
Sorority, Inc.; The Arc of the United States; Georgia ADAPT; Southern Christian
Leadership Conference; Georgia Advocacy Office; Georgia State Conference of the
NAACP; Georgia Coalition for the People’s Agenda, Inc.; League of Women Voters of
Georgia, Inc.; GALEO Latino Community Development Fund, Inc.; Common Cause;
Lower Muskogee Creek Tribe; and the United States of America.
2
 The NGP Plaintiffs include the following groups and individuals: the NGP; Black
Voters Matter Fund; Rise, Inc.; Fannie Marie Jackson Gibbs; Jauan Durbin; and Elbert
Solomon.

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I.     INTRODUCTION

       Georgia Senate Bill 202 (“S.B. 202”) governs election-related processes and

was signed into law by Governor Brian Kemp on March 25, 2021. The AME and

Georgia NAACP Plaintiffs and the NGP Plaintiffs (collectively, “Plaintiffs”),

among other plaintiff groups, subsequently filed complaints against Georgia state

officials and county government officials3 challenging various provisions of S.B.

202. This order refers to both State Defendants4 and Intervenor Defendants5 and to

both groups together as “Defendants.”

       At issue is a provision in S.B. 202 that prohibits the distribution of food,

drinks and other gifts to voters waiting in line at polling places. This practice is

often called “line warming” or “line relief.” Under O.C.G.A. § 21-2-414(a),



3
  The full list of County Defendants is available on the docket. To briefly review, the
AME Plaintiffs named as defendants the boards of elections and registration (as well as
members of those boards) from the following counties: Bibb, Chatham, Clarke, Clayton,
Cobb, Columbia, DeKalb, Fulton, Gwinnett, Hall and Richmond. The Georgia NAACP
Plaintiffs sued members of the boards of elections and registration from Fulton, Gwinnett
and Cobb counties. The NGP Plaintiffs sued members of the Brooks, Fulton and
Spalding county boards, in addition to Keith Gammage, the Solicitor General of Fulton
County, and Gregory W. Edwards, the District Attorney for Dougherty County. All
individuals have been sued in their official capacities.
4
  State Defendants are Brian Kemp, Governor of the State of Georgia, in his official
capacity; Brad Raffensperger, Secretary of State of Georgia, in his official capacity; and
individual members of the Georgia State Elections Board, in their official capacities.
5
 Intervenor Defendants are the Republican National Committee; the National Republican
Senatorial Committee; the National Republican Congressional Committee; and the
Georgia Republican Party, Inc.

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      [n]o person shall . . . give, offer to give, or participate in the giving of
      any money or gifts, including, but not limited to, food and drink, to an
      elector . . . [or] establish or set up any tables or booths on any day in
      which ballots are being cast.

The Court refers to this portion of the provision as the “Food, Drink and Gift Ban.”

The Food, Drink and Gift Ban applies (1) “[w]ithin 150 feet of the outer edge of

any building within which a polling place is established,” which this Court calls

the “Buffer Zone,” and (2) “[w]ithin 25 feet of any voter standing in line to vote at

any polling place,” which this Court terms the “Supplemental Zone.”6 Id. § 21-2-

414(a). A violation of the Food, Drink and Gift Ban is punishable as a

misdemeanor. Id. § 21-2-414(f). The Court refers to the provision of S.B. 202 that

imposes criminal penalties for violations of the Food, Drink and Gift Ban as the

“Penalty Provision.” In this case, Plaintiffs allege that the Food, Drink and Gift

Ban violates their rights to freedom of speech and expression under the First

Amendment to the United States Constitution.7




6
 The Food, Drink and Gift Ban also applies within any polling place, see O.C.G.A. § 21-
2-414(a), but enforcement of the provision in that location is not at issue here.
7
 This Court provided an extensive factual overview of this case in its August 18, 2022
order; those facts are incorporated by reference herein. See [Doc. 241, pp. 6–23].

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II.   PROCEDURAL HISTORY

      A.     Previous Preliminary Injunction Motions

      Plaintiffs have previously sought preliminary injunctions in this Court. On

May 25, 2022, the AME and Georgia NAACP Plaintiffs moved this Court to

preliminarily enjoin all named defendants in their respective cases from enforcing

the Penalty Provision for violations of the Food, Drink and Gift Ban. [Doc. 171].

On June 3, 2022, the NGP Plaintiffs moved for the same relief as to only two

named defendants: Keith Gammage, in his official capacity as the Solicitor

General of Fulton County, and Gregory W. Edwards, in his official capacity as the

District Attorney of Dougherty County. [Doc. 185]. The Court held a hearing on

both motions on July 18, 2022. [Doc. 227].

       The Court denied the motions on August 18, 2022 (the “2022 Order”).

[Doc. 241].8 In the 2022 Order, the Court analyzed the Food, Drink and Gift Ban

at length. Specifically, the Court answered five fundamental questions about line

relief and about the Food, Drink and Gift Ban: (1) whether line relief is expressive

conduct; (2) whether the Food, Drink and Gift Ban is a content-based regulation of

speech; (3) which level of scrutiny applies to the Food, Drink and Gift Ban; (4)



8
 The Court cites to the docket of the master case for ease of reference, but the 2022
Order is also available at In re Georgia Senate Bill 202, 622 F. Supp. 3d 1312 (N.D. Ga.
2022).

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whether the Food, Drink and Gift Ban, when implemented in the Buffer Zone and

in the Supplemental Zone, passes the applicable level of scrutiny; and (5) whether

injunctive relief was appropriate in light of the upcoming elections at that time.

The Court’s answers to these questions directly inform the resolution of the

pending motions and thus merit additional discussion here.

             1.     Whether Line Relief Is Expressive Conduct
      First, the Court considered whether line relief is expressive conduct that is

protected by the First Amendment. The First Amendment protects expressive

conduct in addition to spoken or written speech. Texas v. Johnson, 491 U.S. 397,

404 (1989). In some circumstances, “conduct may be ‘sufficiently imbued with

elements of communication to fall within the scope’” of First Amendment

protection. Id. (quoting Spence v. Washington, 418 U.S. 405, 409 (1974)). To

determine whether conduct is expressive, a court asks “whether [a] reasonable

person would interpret it as some sort of message, not whether an observer would

necessarily infer a specific message.” Holloman ex rel. Holloman v. Harland, 370

F.3d 1252, 1270 (11th Cir. 2004). Applying this precedent, the Court determined

that by engaging in line relief, “Plaintiffs intend to convey a message that voting is

important and that voters should remain in line to ensure their participation in the

democratic process.” [Doc. 241, p. 31]. The Court further determined that “voters

‘infer’ some message from Plaintiffs’ efforts.” Id. Because the record established

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that voters interpret Plaintiffs’ work as conveying a message, the Court concluded

that Plaintiffs were substantially likely to show that their line relief activities

constitute expressive conduct that is protected by the First Amendment.

             2.     Whether the Food, Drink and Gift Ban Is a Content-Based
                    Regulation of Speech

      Second, the Court analyzed whether the Food, Drink and Gift Ban is a

content-based or a content-neutral restriction on speech. A content-neutral

restriction is one that “serves purposes unrelated to the content of expression.”

Ward v. Rock Against Racism, 491 U.S. 781, 791 (1989). A law is content-based,

on the other hand, if it “applies to particular speech because of the topic discussed

or the idea or message expressed.” Reed v. Town of Gilbert, 576 U.S. 155, 163

(2015). A facially content-based law “defin[es] regulated speech by particular

subject matter” or “by its function or purpose.” Id. Importantly, even facially

content-neutral laws may still be considered content-based. Indeed, regulations

that are facially content-neutral “will be considered content-based regulations of

speech” if they “cannot be ‘justified without reference to the content of the

regulated speech’” or if they were adopted by the government “because of

disagreement with the message [the speech] conveys.” Id. at 164 (alteration in

original) (quoting Ward, 491 U.S. at 791). When determining whether a law is




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content-based, the Court looks to the government’s purpose in adopting the law as

“the controlling consideration.” Ward, 491 U.S. at 791.

      In the 2022 Order, this Court determined that Plaintiffs were substantially

likely to show that the Food, Drink and Gift Ban was a content-based regulation of

speech. The Court focused on two points in reaching this conclusion. First, the

law’s application to polling places was important context. Notably, the Supreme

Court of the United States had previously determined that a law restricting speech

around a polling place was content-based because the law restricted only a certain

category of speech. Burson v. Freeman, 504 U.S. 191, 197 (1992). In other

words, “[w]hether individuals [could] exercise their free speech rights near polling

places depend[ed] entirely” on the content of their speech—specifically, “whether

their speech [was] related to a political campaign.” Id. Similarly, this Court held

that the Food, Drink and Gift Ban “prohibit[ed] a specific category of conduct

(offering or providing certain items to voters) around the polling place.” [Doc.

241, p. 39]. Consequently, like the Burson plaintiffs, Plaintiffs’ ability in this case

to exercise their First Amendment rights near polling places hinged entirely on the

nature of their conduct and thus on the content of their speech.

      Second, the Court looked to the government’s purpose in passing the Food,

Drink and Gift Ban—which is the “controlling consideration” for determining



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whether a law is content-based or content-neutral. Ward, 491 U.S. at 791. Two

Supreme Court cases, in particular, informed this Court’s analysis: City of Renton

v. Playtime Theatres, Inc., 475 U.S. 41 (1986), and Boos v. Barry, 485 U.S. 312

(1988).

      Renton concerned a zoning ordinance that prohibited adult motion picture

theaters within 1,000 feet of residences and certain establishments. 475 U.S. at 48.

The Supreme Court determined that the ordinance was content-neutral because it

was “aimed not at the content of the films shown at ‘adult motion picture theatres,’

but rather at the secondary effects of such theaters on the surrounding community.”

Id. In other words, the zoning ordinance was “consistent with [the] definition of

‘content-neutral’ speech regulations as those that ‘are justified without reference to

the content of the regulated speech.’” Id. (quoting Va. Pharmacy Bd. v. Va.

Citizens Consumer Council, 425 U.S. 748, 771 (1986)).

      In Boos, the Supreme Court held unconstitutional a statute that prohibited

the display of signs that were offensive to a foreign government within 500 feet of

that government’s embassy. 485 U.S. at 315. The Court found that the statute was

a content-based regulation of speech because whether individuals could picket in

front of an embassy depended entirely on the content of their signs. Id. at 318–19.

Importantly, the statute was justified based on the “direct” and “emotive” impact of



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the speech on its audience; in fact, its justification “focuse[d] only on the content of

the speech and the direct impact that speech ha[d] on its listeners.” Id. at 321.

      The Court in Boos distinguished Renton, explaining that “while the

regulation in Renton applied only to a particular category of speech, its

justification had nothing to do with that speech.” Id. at 320. As already stated, the

zoning ordinance did not target “[t]he content of the films being shown inside the

theaters”; instead, it “was aimed at the ‘secondary effects of such theaters in the

surrounding community.’” Id. (quoting Renton, 475 U.S. at 47). But, the Court

explained, “[r]egulations that focus on the direct impact of speech on its audience

present a different situation. Listeners’ reactions to speech are not the type of

‘secondary effects’” that were contemplated in Renton. Id. at 321.

      In the 2022 Order, this Court concluded that the justification for the Food,

Drink and Gift Ban focused on the direct impact of line relief on voters, including

voters’ reactions to line relief activities. Specifically, the “impetus” for the statute

was primarily “the concern that election officials could not monitor what

volunteers were communicating to voters and that line warming activities could

constitute or be perceived as improper electioneering, political pressure or

intimidation.” [Doc. 241, pp. 38–39]. The Court noted that “[t]he preamble of the

Food, Drink and Gift Ban . . . justifies the statute on the grounds that it will protect



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voters waiting in line from ‘improper interference, political pressure, or

intimidation.’” Id. at 39 (quoting S.B. 202 § 2, ¶ 13, Reg. Sess. (Ga. 2021)).

Accordingly, the Court held that Plaintiffs were substantially likely to show that

the Food, Drink and Gift Ban was “a content-based regulation of speech because

the government enacted it based on the potential ‘direct’ and ‘emotive’ impact of

line warming activities on voters.” Id. (quoting Boos, 485 U.S. at 321).

             3.     The Applicable Level of Scrutiny for the Food, Drink and
                    Gift Ban
      Third, the Court evaluated the appropriate level of scrutiny for the Food,

Drink and Gift Ban. Content-based regulations are ordinarily subject to the strict

scrutiny level of review, and in fact, such regulations “are presumptively

unconstitutional.” Reed, 675 U.S. at 163–64. To survive strict scrutiny, a content-

based regulation of speech must be necessary to serve a compelling state interest

and narrowly tailored to achieve that end. Burson, 504 U.S. at 198. In Burson, the

Supreme Court recognized that some circumstances warrant modifying the strict

scrutiny standard. Id. at 208 (finding that a modified standard was appropriate

because the “government has such a compelling interest in securing the right to

vote freely and effectively”). Under the modified standard, a state need not

provide evidence to support the necessity of the challenged law, and a regulation is

sufficiently tailored if it is “‘reasonable’” and does not “‘significantly impinge on


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constitutionally protected rights.’” Id. at 209 (quoting Munro v. Socialist Workers

Party, 479 U.S. 189, 195–96 (1986)).

      Importantly, this modified analysis applies only to those cases in which “the

First Amendment right threatens to interfere with the act of voting itself,” such as

those “in which the challenged activity physically interferes with electors

attempting to cast their ballots.” Id. at 209 n.11. For instance, the Eleventh Circuit

Court of Appeals applied the Burson strict scrutiny analysis to a Florida statute that

prohibited exit solicitation of voters within 100 feet of a polling place. Citizens for

Police Accountability Pol. Comm. v. Browning, 572 F.3d 1213, 1215 (11th Cir.

2009). The Eleventh Circuit reasoned that the “commotion tied to exit solicitation

is as capable of intimidating and confusing the electorate and impeding the voting

process—even deterring potential voters from coming to the polls—as other kinds

of political canvassing or political action around the polls.” Id.

      The question for this Court was thus whether this case fell into the category

of cases in which “the prohibited activity threatens to interfere with the act of

voting itself or physically interferes with voters attempting to cast their ballot.” Id.

at 1221 n.17. In the 2022 Order, the Court—having reviewed in full the evidence

provided by the parties—determined that conducting line relief activities in and

around polling places “evoke[d] images of the kind of commotion at the polls” at



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issue in both Burson and Browning. [Doc. 241, p. 48]. This Court noted that “the

concern regarding intimidation and influence appears even greater here than in

Browning, where the Eleventh Circuit found that the facts (potential for

interference after voters cast their ballots) justified using the Burson modified

analysis.” Id. at 49. In this case, by contrast, the potential for interference

occurred before voters cast their ballots, which further justified applying Burson’s

modified strict scrutiny standard. Id. at 48–49. The Court thus determined that the

modified strict scrutiny analysis was the appropriate standard of review for

evaluating whether the Food, Drink and Gift Ban was constitutional. Id. at 51.

             4.     Application of the Burson Modified Strict Scrutiny Analysis
      Fourth, the Court applied the Burson modified strict scrutiny standard to the

Food, Drink and Gift Ban. In doing so, the Court recognized that the Food, Drink

and Gift Ban applies in two distinct areas—the Buffer Zone and the Supplemental

Zone—and analyzed the law’s constitutionality as to each.

      The Court concluded that when implemented in the Buffer Zone (i.e., within

150 feet of a polling place), the Food, Drink and Gift Ban survived the Burson

strict scrutiny standard. The state’s interests in support of the law included

“restoring peace and order around the polls; protecting voters from political

pressure and intimidation; and supporting election integrity.” [Doc. 241, pp. 51–

52]. These were “compelling” interests recognized as such by a litany of prior

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cases. Id. at 52. Accordingly, the Court determined that the government met its

burden of showing that the Food, Drink and Gift Ban was necessary to serve

compelling state interests—the first prong of the strict scrutiny analysis. As to the

second prong, the Court reasoned that, consistent with other similar cases, the 150-

foot Buffer Zone was not an unreasonable restriction and therefore did not

significantly impinge on First Amendment rights. See id. at 53.

      On the other hand, the Court held that the Food, Drink and Gift Ban failed

this scrutiny when implemented in the Supplemental Zone. Id. at 54–55. Central

to this conclusion was the fact that, unlike the Buffer Zone’s reasonable 150-foot

radius, the Supplemental Zone has no boundary. S.B. 202 prohibits organizations

(such as Plaintiffs) from engaging in line relief activities in the Supplemental Zone,

i.e., if they are within twenty-five feet of a voter—even if the organizations are

outside the 150-foot Buffer Zone. Because the Supplemental Zone “is tied to the

position of the voter in line and fluctuates based on the location of the voter, it has

no fixed line of demarcation and no limit.” Id. This Court noted that although

Burson “did not establish where to draw the line between a restricted zone and one

that is an ‘impermissible burden,’” the Supreme Court “indicate[d] that a restricted

zone becomes unconstitutional at ‘some measurable distance from the polls.’” Id.

at 55 (quoting Burson, 504 U.S. at 210). Applying that reasoning, this Court held



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that “it [was] improbable that a limitless Supplemental Zone would be permissible”

under Burson’s modified strict scrutiny analysis. Id.

         In sum, the Court found that while Plaintiffs were not substantially likely to

succeed on the merits of their claim as to the Food, Drink and Gift Ban in the

Buffer Zone, they were substantially likely to succeed on the merits of their claim

as to the Supplemental Zone. The Court also found that Plaintiffs met all other

factors of the preliminary injunction test—irreparable harm, balance of the equities

and public interest—with respect to enforcing the Food, Drink and Gift Ban in the

Supplemental Zone.

                 5.     Application of the Purcell Principle
         Fifth and finally, the Court considered whether the principle articulated in

Purcell v. Gonzalez, 591 U.S. 1 (2006), counseled against enjoining enforcement

of the Food, Drink and Gift Ban in the Supplemental Zone. The Purcell principle

is the idea that a court should ordinarily decline to issue an injunction that changes

existing election rules when an election is imminent. Purcell, 591 U.S. at 5–6.

This principle of restraint recognizes that injunctions issued on the eve of an

election risk confusing voters and decreasing voter turnout.9 Id. at 4–5.




9
    The Purcell principle is discussed in greater detail in Part III.B, see infra.


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      When the 2022 Order was issued—on August 18, 2022—early voting for the

2022 midterm elections was scheduled to begin in mid-October, or in

approximately two months. Defendants argued that a late change to the law would

lead to voter confusion, harm to the electoral process and inconveniences

concerning retraining poll workers and redrafting training manuals. See [Doc. 241,

pp. 66–67]. Plaintiffs countered that an injunction would pose minimal hardship;

pointed to the testimony of county officials that implementing a last-minute change

to election rules was feasible; and cited evidence that because voters have been

accustomed to line relief at the polls, they would not be confused by an injunction

allowing those activities to proceed. Id. at 68–69.

      The Court weighed these arguments and concluded that an injunction

regarding the Supplemental Zone would affect the mechanics of the then-

upcoming elections and would require retraining poll workers, potentially leading

to confusion and increased burdens on the Secretary of State. Id. at 69–70. This

Court was also “mindful of the Eleventh Circuit’s caution regarding the unintended

consequences of last-minute changes to election laws.” Id. at 70. As such, the

Court determined that although Plaintiffs were otherwise entitled to an injunction




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vis-à-vis enforcing the Food, Drink and Gift Ban in the Supplemental Zone,

Purcell precluded the requested relief.10

       B.     Instant Preliminary Injunction Motions

       On April 24, 2023, the AME and Georgia NAACP Plaintiffs filed a renewed

motion for preliminary injunction. [Doc. 535]. The NGP Plaintiffs similarly filed

a renewed motion on May 17, 2023. [Doc. 547]. The AME and Georgia NAACP

Plaintiffs ask this Court to enjoin all named defendants in their respective cases11

from enforcing the Penalty Provision for violations of the Food, Drink and Gift

Ban in the Supplemental Zone. The NGP Plaintiffs seek the same relief but only

as to Gammage and Edwards. Both motions seek injunctions for the 2024 elections

and until any final relief in this case is granted.12 State Defendants and Intervenor

Defendants oppose the motions; County Defendants do not.13


10
  Notably, when reaching this conclusion, this Court relied on the Purcell analysis in the
Eleventh Circuit’s opinion in Rose v. Secretary, State of Georgia, No. 22-12593, 2022
WL 3572823, at *2 (11th Cir. Aug. 12, 2022); see [Doc. 241, pp. 65–66, 70]. That
opinion—including its application of the Purcell principle—was subsequently vacated by
the Supreme Court. See Rose v. Raffensperger, 143 S. Ct. 58, 59 (2022).
11
  The AME and Georgia NAACP Plaintiffs seek an injunction as to all defendants
named in cases 1:21-cv-01284 and 1:21-cv-01259.
12
  Plaintiffs maintain their First Amendment challenge to the Food, Drink and Gift Ban
when enforced in the Buffer Zone but do not renew that challenge in the instant motions.
See [Doc. 535, p. 3 n.2]; [Doc. 547-1, p. 6 n.1].
13
  County Defendants did not respond to the instant motions. See N.D. Ga. Civ. R.
7.1(B) (“Failure to file a response shall indicate that there is no opposition to the
motion.”).

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III.   ANALYSIS

       In the renewed motions for preliminary injunctions, Plaintiffs contend that

enforcing the Food, Drink and Gift Ban in the Supplemental Zone violates their

First Amendment rights. In the analysis that follows, the Court evaluates whether

Plaintiffs are entitled to preliminary injunctive relief before turning to whether the

Purcell principle applies to this case.14

       A.    Preliminary Injunctive Relief

       A plaintiff seeking preliminary injunctive relief must show (1) a substantial

likelihood of success on the merits; (2) irreparable injury absent an injunction; (3)

that the balance of equities is in his favor; and (4) that an injunction would not be

adverse to the public interest. Sofarelli v. Pinellas County, 931 F.2d 718, 723–24

(11th Cir. 1991). Because a preliminary injunction “is an extraordinary and drastic

remedy,” the Court may not issue such relief “unless the movant clearly

establish[es] the burden of persuasion as to each of the four prerequisites.” Siegel

v. LePore, 234 F.3d 1163, 1176 (11th Cir. 2000) (internal punctuation omitted)

(quoting McDonald’s Corp. v. Robertson, 147 F.3d 1301, 1306 (11th Cir. 1998)).

Granting a preliminary injunction is thus the exception rather than the rule. See id.



14
  The NGP Plaintiffs join and incorporate by reference the arguments presented by the
AME and Georgia NAACP Plaintiffs. See [Doc. 547-1, p. 7]. The Court therefore
addresses both motions together unless otherwise noted.

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             1.     Likelihood of Success on the Merits

      To obtain a preliminary injunction, a moving party must show a substantial

likelihood that he will ultimately prevail on the merits of his claim. Sofarelli, 931

F.2d at 723. This factor is generally considered the most important of the four

factors, see Garcia-Mir v. Meese, 781 F.2d 1450, 1453 (11th Cir. 1986), and

failure to satisfy this burden—as with any of the other prerequisites—is fatal to the

claim, see Siegel, 234 F.3d at 1176.

      Plaintiffs assert that implementing the Food, Drink and Gift Ban in the

Supplemental Zone impermissibly burdens expressive conduct that is protected by

the First Amendment. To determine whether Plaintiffs are substantially likely to

succeed on this claim, the Court must consider whether Plaintiffs’ line relief

activities implicate the First Amendment; which level of scrutiny applies to the

Food, Drink and Gift Ban; and whether the Food, Drink and Gift Ban, when

enforced in the Supplemental Zone, passes the appropriate level of scrutiny.

      As explained earlier, see supra Part II.A, the Court analyzed these questions

extensively in the 2022 Order. This Court previously determined that Plaintiffs are

substantially likely to show that line relief constitutes expressive conduct; that the

Food, Drink and Gift Ban is a content-based regulation of speech; that the

modified strict scrutiny analysis articulated in Burson applies to the Food, Drink



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and Gift Ban; and that, when implemented in the Supplemental Zone, the Food,

Drink and Gift Ban fails this scrutiny.

      After thorough review of the parties’ arguments and the record in this case

(which is now even more developed than what was before the Court for the 2022

Order), this Court declines to depart from these findings. The Court will briefly

address Defendants’ arguments for a different outcome and explain why their

contentions are not persuasive.

      First, State Defendants argue that Plaintiffs’ line relief efforts do not

constitute expressive conduct. State Defendants claim that because “the record

suggests a muddle of potential messages Plaintiffs may be trying to

communicate, . . . there is no basis to conclude that voters would understand being

handed something of value in line to impart any message.” [Doc. 578, p. 18].

State Defendants seem to contend that because multiple messages may be

perceived from Plaintiffs’ line relief activities, those efforts cannot be considered

expressive conduct. This contention is at odds with binding precedent holding that

conduct is expressive where a “reasonable person would interpret [the conduct] as

some sort of message,” not where “an observer would necessarily infer a specific

message.” Holloman ex rel. Holloman v. Harland, 370 F.3d 1252, 1270 (11th Cir.

2004).



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      The record here shows that reasonable persons would interpret Plaintiffs’

line relief efforts as expressing some sort of message. Plaintiffs themselves state

that their line relief activities convey messages about community support, voter

dignity and the importance of political participation. See [Doc. 535-10, p. 4];

[Doc. 535-11, p. 3]; [Doc. 547-7, p. 2]. The record also shows that voters perceive

these messages from Plaintiffs’ conduct: Plaintiffs provided testimony from a

voter who explained that Plaintiffs’ line relief efforts conveyed a “message of

support” that “lifted [his] spirits” and “strengthened [his] resolve to persevere

through adversity.” [Doc. 547-9, p. 2]. Additionally, the mere fact that an act may

convey more than one message does not render it outside the realm of expressive

conduct; in fact, the Supreme Court expressly clarified that “a narrow, succinctly

articulable message is not a condition of constitutional protection.” Hurley v.

Irish-Am. Gay, Lesbian & Bisexual Grp. of Bos., 515 U.S. 557, 569 (1995). For

these reasons, the Court maintains its conclusion that Plaintiffs are substantially

likely to show that line relief constitutes expressive conduct that is protected by the

First Amendment.

      Second, State Defendants assert that the Food, Drink and Gift Ban is not a

content-based regulation of speech. State Defendants claim that the Food, Drink

and Gift Ban addresses only secondary effects, “which include undermining the



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efficiency of elections, creating a perception of voter intimidation, and forcing

voters to accept unwanted interactions while waiting to vote.” [Doc. 578, p. 22].

Therefore, according to State Defendants, because the Food, Drink and Gift Ban

targets only the secondary effects of Plaintiffs’ conduct, it is necessarily content-

neutral.

      As this Court explained in the 2022 Order, however, the Food, Drink and

Gift Ban does not address only the secondary effects of line relief. Instead, the

regulation targets the direct effect of Plaintiffs’ speech on voters. Ryan Germany,

General Counsel for the Secretary of State, testified that the Secretary of State’s

Office was concerned about perceptions of political influence from organizations

distributing food and water around polling places and that S.B. 202 responded to

these concerns. [Doc. 535-3, p. 4]. As this testimony demonstrates, the regulation

was prompted by the notion that voters would perceive line relief as improper

electioneering or political pressure. Moreover, the very preamble of S.B. 202

justifies the legislation on the grounds that it protects voters from the potential

effects of Plaintiffs’ speech. Importantly, “reactions to speech are not the type of

‘secondary effects’” that are ordinarily relevant for content-neutral regulations.

Boos, 485 U.S. at 321.




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       Insofar as State Defendants cite concerns about election efficiency, the

record does not support their position. County officials provided testimony that

they have easily enforced the Food, Drink and Gift Ban in the Buffer Zone and

have not received complaints about line relief activities in the Supplemental Zone.

[Doc. 535-5, p. 3]; [Doc. 535-6, pp. 2–3]. Consequently, the Court is not

persuaded by State Defendants’ arguments and concludes once more that Plaintiffs

are substantially likely to show that the Food, Drink and Gift Ban is a content-

based regulation of speech.

       Finally, Defendants assert that when implemented in the Supplemental Zone,

the Food, Drink and Gift Ban survives the applicable level of scrutiny.15 In

particular, Defendants argue that the state’s interests in the Food, Drink and Gift

Ban are just as compelling within the Supplemental Zone as they are in the Buffer

Zone and that implementing the Food, Drink and Gift Ban in the Supplemental

Zone meets Burson’s narrow tailoring requirement.



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  The parties disagree about the appropriate level of scrutiny. Plaintiffs appear to
concede that Burson’s modified strict scrutiny standard applies. See [Doc. 535-1, p. 9];
[Doc. 547-1, pp. 9–10]. State Defendants, contending that Plaintiffs’ activities are not
expressive conduct, would apply Anderson-Burdick review. [Doc. 578, p. 24].
Intervenor Defendants seem to claim that the appropriate level of review is either strict
scrutiny; the more relaxed scrutiny used for content-neutral time, place and manner
restrictions; or, agreeing with State Defendants, the Anderson-Burdick standard. [Doc.
579, p. 4 n.1]. In any event, this Court sees no reason to depart from its prior finding that
Burson is the appropriate standard of review.

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      As to the nature of the state’s interests, the justifications for the Food, Drink

and Gift Ban—maintaining peace and order around the polling place, protecting

voters from political pressure and supporting election integrity—are undoubtedly

compelling. See Citizens for Police Accountability Pol. Comm. v. Browning, 572

F.3d 1213, 1219 (11th Cir. 2009) (recognizing that “protecting voters from

confusion and undue influence” and “preserving the integrity of the election

process” are compelling interests). This Court, however, cannot overlook the

Supreme Court’s clear holding that a regulation “become[s] an impermissible

burden” at “some measurable distance from the polls.” Burson v. Freeman, 504

U.S. 191, 210 (1992). The compelling nature of the state’s interests does not mean

that the Food, Drink and Gift Ban necessarily satisfies the second prong of

Burson’s modified strict scrutiny standard.

      As to the second prong, the narrow tailoring requirement, Defendants argue

that the Food, Drink and Gift Ban is narrowly tailored when it is implemented in

the Supplemental Zone. This part of the Burson analysis asks if the regulation is

“reasonable” and whether it “significantly impinge[s] on constitutionally protected

rights.” Browning, 572 F.3d at 1218 (quoting Burson, 504 U.S. at 209). First,

State Defendants contend that the Food, Drink and Gift Ban “merely institutes a

narrow restriction on conduct in the immediate vicinity of a polling location” and is



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therefore “sufficiently tailored to satisfy any level of scrutiny.” [Doc. 578, p. 32]

(emphasis added). When implemented in the Supplemental Zone, however, the

Food, Drink and Gift Ban is plainly not narrowly tailored: it does not apply only in

the immediate vicinity of the polling location and instead applies no matter the

distance from the polls so long as a voter is present. Because the Supplemental

Zone is tied to the location of a voter, it has no fixed boundary and thus no limit.

To illustrate, if a voting line extends 1,000 feet past the Buffer Zone, the

Supplemental Zone also extends 1,000 feet. The Supreme Court has upheld a

“restricted zone” around a polling place that imposed a “minor geographic

limitation.” Burson, 504 U.S. at 208, 210. But the Supplemental Zone is neither

restricted nor limited in its geographic application. As such, it is not narrowly

tailored.

      Second, Intervenor Defendants argue that the Supplemental Zone is

narrowly tailored because the state’s interests in enforcing the Food, Drink and

Gift Ban concern voters, not polling places. In other words, according to

Intervenor Defendants, the fact that the Supplemental Zone extends no matter a

voter’s distance from the polls is irrelevant because the state’s interests are in

protecting the voter, not in protecting “buildings.” [Doc. 579, p. 6]. Plaintiffs

respond that if this were true, the state would not have enacted the Buffer Zone in



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the first instance—that is, the state would not have explained the Food, Drink and

Gift Ban’s areas of application by reference to buildings at all.

      In the Court’s view, Intervenor Defendants overlook a nuance in the

applicable precedent. The Supreme Court has recognized states’ interests in peace

and order around polling places—not around buildings per se—with a view toward

protecting the unique activity (voting) that occurs at those specific locations (the

polls). See Burson, 504 U.S. at 208 (“[W]e hold that some restricted zone around

the voting area is necessary to secure the [s]tate’s compelling interest.” (second

emphasis added)); id. at 211 (“A long history, a substantial consensus, and simple

common sense show that some restricted zone around polling places is necessary

to protect th[e] fundamental right [to cast a ballot in an election free from the taint

of intimidation and fraud].” (emphasis added)). The state’s interests, therefore,

necessarily diminish in importance as the distance from the polling place increases.

This logic explains Burson’s guidance that regulations become “impermissible

burdens” at “some measurable distance from the polls”—not at some measurable

distance from “voters.” Id. at 210. The Court is therefore unpersuaded by

Intervenor Defendants’ characterization of the state’s interests in this case or by




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Defendants’ arguments that enforcing the Food, Drink and Gift Ban in the

Supplemental Zone satisfies Burson’s narrow tailoring requirement.

      As set forth above, Plaintiffs are substantially likely to show that

implementing the Food, Drink and Gift Ban in the Supplemental Zone is not

narrowly tailored and that it places an impermissible burden on the exercise of

constitutional rights. For the foregoing reasons, the Court thus finds that Plaintiffs

are substantially likely to succeed on the merits of their claim that, when

implemented in the Supplemental Zone, the Food, Drink and Gift Ban infringes

Plaintiffs’ First Amendment rights.

             2.     Irreparable Harm
      “A showing of irreparable injury is ‘the sine qua non of injunctive relief.’”

Siegel v. LePore, 234 F.3d 1163, 1176 (11th Cir. 2000) (quoting Ne. Fla. Chapter

of Ass’n of Gen. Contractors v. City of Jacksonville, 896 F.2d 1283, 1285 (11th

Cir. 1990)). Even if a plaintiff can show a substantial likelihood of success on the

merits, “the absence of a substantial likelihood of irreparable injury would,

standing alone, make preliminary injunctive relief improper.” Id.; see also City of

Jacksonville, 896 F.2d at 1285 (declining to address all elements of the preliminary

injunction test because “no showing of irreparable injury was made”). Irreparable

injury “must be neither remote nor speculative, but actual and imminent.” Siegel,

234 F.3d at 1176 (quoting City of Jacksonville, 896 F.2d at 1285).

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      “The loss of First Amendment freedoms, for even minimal periods of time,

unquestionably constitutes irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373

(1976). Both the Supreme Court and the Eleventh Circuit have reiterated this

principle on numerous occasions. See Roman Cath. Diocese of Brooklyn v.

Cuomo, 141 S. Ct. 63, 67 (2020); see also Otto v. City of Boca Raton, 981 F.3d

854, 870 (11th Cir. 2020) (concluding that enforcing statutes “for even minimal

periods of time” that penalize protected speech “constitutes a per se irreparable

injury” (quoting Cate v. Oldham, 707 F.2d 1176, 1188 (11th Cir. 1983))); FF

Cosms. FL, Inc. v. City of Miami Beach, 866 F.3d 1290, 1298 (11th Cir. 2017)

(“[A]n ongoing violation of the First Amendment constitutes an irreparable

injury.”); KH Outdoor, LLC v. City of Trussville, 458 F.3d 1261, 1272 (11th Cir.

2006) (noting that it is “well established” that the loss of First Amendment

freedoms, even if temporary, embodies irreparable harm).

      In the 2022 Order, this Court determined that Plaintiffs established

irreparable harm because the Food, Drink and Gift Ban chilled the exercise of their

First Amendment rights. Importantly, “[t]he record shows that the Food, Drink

and Gift Ban has already deterred Plaintiffs and other organizations from engaging

in line warming activities,” and “the lost opportunity for expression cannot be

remedied after the fact.” [Doc. 241, p. 59]. The Court has reviewed the parties’



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arguments and the record on this issue and concludes once more that Plaintiffs

have established irreparable harm. See White v. Baker, 696 F. Supp. 2d 1289,

1312–13 (N.D. Ga. 2010) (“Plaintiffs that show a chilling effect on free expression

have demonstrated an irreparable injury.”). Defendants argue that Plaintiffs cannot

show irreparable injury for three reasons. Although the Court finds these

arguments unavailing, the Court discusses them below.

      First, State Defendants argue that long lines are not likely to persist in the

2024 elections. Without long lines, according to State Defendants, Plaintiffs’

inability to provide line relief to waiting voters occasions no irreparable injury.

The record contains evidence from both parties about the issue of lines at the polls.

Plaintiffs assert that their line relief activities remain important because voters

continue to face the risk of long lines. Joseph Blake Evans, the Director of

Elections with the Secretary of State’s Office, testified that long lines persisted in

the December 2022 elections. [Doc. 535-15, pp. 2–3]. A 30(b)(6) representative

of the Cobb County Board of Elections testified that lines in the December 2022

elections extended beyond the Buffer Zone. [Doc. 535-16, p. 3]. The Fulton

County Board of Elections provided testimony that for the 2022 general election,

wait times were over an hour for advanced voting (but not on Election Day). [Doc.

535-17, p. 2].



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         Plaintiffs also provided evidence about wait times for early voting on the

Friday before the December 2022 runoff. On that day, all of Fulton County’s

twenty-four voting locations had a line of at least thirty minutes, and twenty-one

had lines over one hour. [Doc. 535-18, p. 35]. All eleven of Gwinnett County’s

early voting sites reported wait times of at least forty-five minutes. Id. In DeKalb

County, wait times at eleven of its sixteen early voting locations exceeded thirty

minutes. Id. Finally, Dr. Stephen Pettigrew, Plaintiffs’ expert on the issue of long

voting lines in Georgia, testified that long lines tend to be worst in presidential

election years. [Doc. 590-3, p. 2].

         State Defendants assert that long lines will not pose a challenge for voters in

upcoming elections. To support this assertion, State Defendants provided evidence

that wait times on Election Day for the November 2022 elections varied from zero

to ten minutes,16 [Doc. 578-9, p. 30], while the average wait time on Election Day

for the December 2022 runoff was one minute and forty-five seconds, [Doc. 578-3,

p. 5].

         The Court finds that the evidence in the record does not support State

Defendants’ position. Plaintiffs provided evidence that voters faced long lines in



16
  The data provided by State Defendants on this particular point “reflect only in-person
Election Day voting, which may have shorter average wait times than in-person early
voting.” [Doc. 578-9, p. 30].

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the 2022 elections. Although State Defendants offered counter evidence about

short wait times, their evidence concerned wait times for different elections and

during different voting periods than the information presented by Plaintiffs.

Plaintiffs also introduced expert testimony that wait times in presidential election

years—e.g., 2024—are likely to be worse compared to other election years. After

reviewing the record and the parties’ arguments, the Court finds that the issue of

long lines is sufficiently likely to continue in the 2024 elections such that Plaintiffs

will suffer irreparable injury absent an injunction.

       Second, State Defendants contend that the NGP Plaintiffs rely only on

speculation to establish irreparable injury.17 According to State Defendants, the



17
   In a footnote, State Defendants additionally contend that the NGP Plaintiffs’ motion
should be denied for requesting “untenable relief.” [Doc. 578, p. 36 n.11]. State
Defendants argue that enjoining two county prosecutors, but not others, raises
constitutional concerns. First, this argument is not fully developed; it consists of two
sentences in a single footnote. See Asociacion de Empleados del Area Canalera v.
Panama Canal Comm’n, 453 F.3d 1309, 1316 n.7 (11th Cir. 2006) (holding that an issue
was waived when it “appear[ed] only in a footnote and [was] unaccompanied by any
argument”). Second, the Court is unconvinced that State Defendants’ cited authority is
on point. State Defendants rely on Bush v. Gore, 531 U.S. 98 (2000), for the proposition
that “arbitrary and disparate treatment . . . in . . . different counties” poses constitutional
concerns, [Doc. 578, p. 36 n.11] (alterations in original) (quoting Bush, 531 U.S. at 107).
But Bush concerned arbitrary and disparate treatment of voters’ ballots in the context of
the Supreme Court’s “one-vote jurisprudence.” 531 U.S. at 107. Stated another way, a
state may not arbitrarily treat the ballots of voters in one county differently from those of
voters in another county. See id.; see also, e.g., Moore v. Ogilvie, 314 U.S. 814, 819
(1969) (“The idea that one group can be granted greater voting strength than another is
hostile to the one man, one vote basis of our representative government.”). State
Defendants have not explained how a case concerning one-vote jurisprudence applies to a

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NGP Plaintiffs have not identified “any pending or threatened enforcement of the

law” and instead rely only on “hypothetical concerns.” [Doc. 578, p. 36].

However, the irreparable harm identified by NGP Plaintiffs is not the potentially

speculative risk of criminal penalties. It is the impact of that risk on the NGP

Plaintiffs’ ability to exercise their First Amendment rights. And that injury is

actual and imminent: the NGP Plaintiffs have stated that S.B. 202 has already

impacted their line relief programs and will continue to do so unless an injunction

is issued. See [Doc. 547-6, p. 3] (“As long as the [Food, Drink and Gift Ban]

remains in place, NGP cannot freely express its message of support and solidarity

to encourage these voters to persevere even when faced with difficult conditions,

or convey that participating in elections is an important and highly valued act of

democracy.”). The Court therefore finds that the NGP Plaintiffs have sufficiently

shown actual and imminent irreparable injury.

      Third and finally, Defendants assert that Plaintiffs cannot show irreparable

harm because they unreasonably delayed in filing the instant motions.18


case about line relief. The Court is therefore unpersuaded by State Defendants’ argument
on this issue.
18
   At the July 18, 2022 hearing on the initial preliminary injunction motions, the Court
asked counsel whether it would be permissible to enter an injunction as to future
elections, but not as to the then-imminent November 2022 election, to avoid Purcell
concerns. See [Doc. 234, pp. 33–34, 39]. State Defendants argued that the Court should
not enter an injunction as to future elections and that instead the Court should have an
expedited trial. Id. at 34. Intervenor Defendants also objected to an injunction because

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Defendants contend that Plaintiffs improperly waited nine months to file their

motions after initially seeking preliminary injunctive relief. It is true that “[a]

delay in seeking a preliminary injunction of even only a few months—though not

necessarily fatal—militates against a finding of irreparable harm.” Wreal, LLC v.

Amazon.com, Inc., 840 F.3d 1244, 1248 (11th Cir. 2016). This is because

obtaining preliminary injunctive relief “requires showing ‘imminent’ irreparable

harm.” Id. (quoting Siegel, 234 F.3d at 1176–77).

      In the Court’s view, Plaintiffs did not unreasonably delay in filing their

motions. To show irreparable injury sufficient for a preliminary injunction,

Plaintiffs must establish that the harm is imminent. Yet in the context of an

election, Plaintiffs are constrained by the Purcell principle, which limits the

window in which Plaintiffs may seek to enjoin election-related regulations. See

infra Part III.B. As such, Plaintiffs filed their motions in April 2023—nearly one

year before the next elections. Had Plaintiffs filed their motions earlier, their




“irreparable harm would not be shown for an election so far in advance.” Id. at 40. Even
though Intervenor Defendants previously argued that Plaintiffs would be unable to show
irreparable harm for elections too far in the future, they now contend that Plaintiffs
unreasonably delayed in bringing the instant motions.

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prospective harms would not have been imminent, but had they filed any later,

their relief may have been barred by Purcell.

      Moreover, the Eleventh Circuit held that a delay “militates against a finding

of irreparable harm”—not that it precludes such a finding entirely. Wreal, 840

F.3d at 1248. Thus, even if this Court determined that Plaintiffs delayed in

bringing the instant motions, the Court would still need to weigh that finding

against the Court’s prior conclusion that Plaintiffs established irreparable injury in

the loss of First Amendment freedoms. And because such a loss “unquestionably

constitutes irreparable injury,” Elrod, 427 U.S. at 373, it is unlikely that any delay

in filing these motions—particularly considering the context of this case as one

concerning election-related relief—would “militate against a finding of irreparable

harm,” Wreal, 840 F.3 at 1248. Consequently, the Court finds that Plaintiffs have

established irreparable injury sufficient to support preliminary injunctive relief.

             3.     Balance of the Equities and Public Interest

      The final two factors of the test for a preliminary injunction are the balance

of the equities and the public interest. Swain v. Junior, 958 F.3d 1081, 1090 (11th

Cir. 2020). The Court combines its analysis of these factors because “where the

government is the party opposing the preliminary injunction, its interest and harm

merge with the public interest.” Id. at 1091. Evaluating together the balance of the

equities and the public interest makes sense in the context of an election because

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“the real question posed” is “how injunctive relief . . . would impact the public

interest in an orderly and fair election, with the fullest voter participation possible

and an accurate count of the ballots cast.” Curling v. Kemp, 334 F. Supp. 3d 1303,

1326 (N.D. Ga. 2018).

      To conduct this analysis, the Court must consider whether Plaintiffs

established the following: (1) that their threatened injury outweighs any potential

damage to State Defendants that would be caused by the proposed injunction; and

(2) that an injunction would not be adverse to the public’s interests, which, here,

merge with those of the state. Sofarelli v. Pinellas County, 931 F.2d 718, 724

(11th Cir. 1991). Importantly, the Eleventh Circuit has stated that “even a

temporary infringement of First Amendment rights constitutes a serious and

substantial injury” and that the government “has no legitimate interest in enforcing

an unconstitutional [statute].” KH Outdoor, LLC v. City of Trussville, 458 F.3d

1261, 1272 (11th Cir. 2006). The public likewise “has no interest in enforcing an

unconstitutional [statute],” and an injunction in that instance “plainly is not adverse

to the public interest.” Id.

      In the 2022 Order, this Court reasoned that “[a]n infringement of First

Amendment rights balances the equities in Plaintiffs’ favor, and neither Defendants

nor the public have a legitimate interest in enforcing an unconstitutional statute.”



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[Doc. 241, p. 61]. Nothing in the record before the Court compels a different

finding.

      State Defendants contend that an injunction would harm the state and the

public by impairing the state’s ability to address confusion related to election

processes. On this point, State Defendants primarily repeat their arguments about

the state’s interests in the Food, Drink and Gift Ban, contending that Plaintiffs will

suffer little harm without an injunction because their First Amendment rights are

not implicated here. This Court concluded above and in the 2022 Order that

Plaintiffs are substantially likely to show that the Food, Drink and Gift Ban (when

enforced in the Supplemental Zone) infringes their First Amendment rights. This

Court has also weighed the state’s interests against the reasonableness of the

restriction and found that the Food, Drink and Gift Ban fails this scrutiny when

implemented in the Supplemental Zone. For these reasons, State Defendants’

arguments on the balance of the equities and the public interest are unconvincing.

Plaintiffs have thus established that the balance of equities weighs in their favor

and that an injunction would not be adverse to the public interest.

      B.     Application of the Purcell Principle

      The Purcell principle, first enunciated in Purcell v. Gonzalez, 549 U.S. 1

(2006), is the proposition that “lower federal courts should ordinarily not alter the



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election rules on the eve of an election,” Republican Nat’l Comm. v. Democratic

Nat’l Comm., 140 S. Ct. 1205, 1207 (2020). This general rule recognizes that

“[c]ourt orders affecting elections, especially conflicting orders, can themselves

result in voter confusion and consequent incentive to remain away from the polls.”

Purcell, 549 U.S. at 4–5. When a court is asked to enter an injunction on the eve of

an election, that court must “weigh, in addition to the harms attendant upon

issuance or nonissuance of an injunction, considerations specific to election cases

and its own institutional procedures.” Id. at 4. When Purcell applies to a request

for an injunction, “the party seeking injunctive relief has a ‘heightened’ burden.”

League of Women Voters of Fla., Inc. v. Fla. Sec’y of State, 32 F.4th 1363, 1372

(11th Cir. 2022).

      The Purcell principle applies only when an election is “sufficiently ‘close at

hand.’” Id. (quoting Merrill v. Milligan, 142 S. Ct. 879, 880 (2022) (Kavanaugh,

J., concurring)). Although the Supreme Court has not squarely addressed precisely

when Purcell applies, it has stayed an injunction for an election that was four

months away. See id. (citing Merrill, 142 S. Ct. at 879). In other words, under the

facts of that case, the Supreme Court determined that an election in four months

was sufficiently “close at hand” that Purcell applied.




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       Similarly, the Eleventh Circuit found that an injunction that “implicate[d]

voter registration”—which was already in progress—for an election that was less

than four months away was within Purcell’s “outer bounds.” Id. However, the

Eleventh Circuit declined to stay an injunction issued “five months prior to the

elections for a single county,” concluding that “[a]pplying Purcell to [that] case

would extend the ‘eve of an election’ farther than [the court had] before.”

Jacksonville Branch of NAACP v. City of Jacksonville, No. 22-13544, 2022 WL

16754389, at *2 (11th Cir. Nov. 7, 2022). The first question for this Court is

therefore whether Plaintiffs’ requested relief falls within the ambit of Purcell.

       Plaintiffs contend that Purcell is not implicated because the elections at issue

will not occur until next year, with the earliest election in March 2024. Plaintiffs

assert that if Purcell were to apply in this circumstance, “it would cease to be an

election-timing principle and become, in practice, an all-out ban on changes to

election rules.” [Doc. 535-1, p. 14]. Defendants argue that Purcell applies and that

it precludes relief.

       At this time, the earliest elections in Georgia are over six months away.19

The Court finds that Purcell does not apply here. E.g., GRACE, Inc. v. City of



19
  The Court notes that the instant motions were filed almost ten months before the
election. Because of several extensions, which Plaintiffs opposed (citing Purcell
concerns), the motions became ripe on July 6, 2023.

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Miami, No. 1:22-CV-24066, 2023 WL 4602774, at *2 (S.D. Fla. June 7, 2023)

(declining to apply Purcell “nearly six months prior to an election”). As previously

noted, the Eleventh Circuit has declined to stay an injunction on Purcell grounds

for an election that was five months away. See Jacksonville Branch of NAACP,

2022 WL 16754589, at *2. Consequently, the Court concludes that Plaintiffs are

not held to Purcell’s heightened standard and that, as a result, Purcell does not bar

the requested relief.

IV.   CONCLUSION

      For the reasons explained above, the Renewed Motions for a Preliminary

Injunction [Doc. 535] [Doc. 547] are GRANTED.

      Until further order of this Court, Keith Gammage, Gregory W. Edwards and

all named defendants in cases 1:21-cv-01284 and 1:21-cv-01259 are HEREBY

ENJOINED from enforcing the Penalty Provision, initiating criminal prosecutions

or otherwise imposing criminal penalties for violations of the Food, Drink and Gift

Ban in the Supplemental Zone.

      SO ORDERED this 18th day of August, 2023.




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